












Dismissed and Memorandum Opinion filed August 27,
2009.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-01-00766-CV

____________

&nbsp;

LOST DOG SOFTWARE, INC. and D.L. COMPUTERS, INC., Appellants

&nbsp;

V.

&nbsp;

FIELD=S FAST FOOD, INC., Appellee

&nbsp;



&nbsp;

On Appeal from the
164th District Court

Harris
County, Texas

Trial Court Cause
No. 00-15679

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment signed May 18, 2001.&nbsp; On
December 6, 2001, this court abated this appeal because appellant Lost Dog
Software, Inc. petitioned for voluntary bankruptcy in the United States
Bankruptcy Court for the Southern District of Texas, under cause number
01-39390-H1-7.&nbsp; See Tex. R. App. P.
8.2.&nbsp; 

Through the Public Access to Court Electronic Records (PACER)
system, the court has learned that the bankruptcy case was closed on September
24, 2002.&nbsp; The parties failed to advise this court of the bankruptcy court
action.








On July 23, 2009, this court issued an order stating that
unless any party to the appeal filed a motion demonstrating good cause to
retain the appeal within twenty days of the date of the order, this appeal
would be dismissed for want of prosecution.&nbsp; See Tex. R. App. P.
42.3(b).&nbsp; No response was filed.&nbsp; 

Accordingly, we reinstate the appeal and order it dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Seymore and Sullivan.





